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                                UNITED STATES DISTRICT COURT
                                SOUTHERN DISTRICT OF FLORIDA
                                       MIAMI DIVISION
                                      www.flsb.uscourts.gov


   THOMAS G. NEUSOM,

                  Appellant,                                   Case No.: 1:18-cv-24463-FAM

   v.

   BRIAN HOLLAND, et al.

                  Appellee.
   ____________________________________/


                 AGREED ORDER GRANTING LANDLORD’S MOTION FOR
                   EXTENSION OF TIME TO FILE A RESPONSE BRIEF

          THIS CAUSE came before the Court on Brian Holland and Andrea Holland’s (“Lanlord”)

   Motion for Extension of Time to File a Response Brief (the “Motion”), and the Court, having

   reviewed the Motion, considered the pertinent portions of the record, and being otherwise informed

   in the premises, ORDERS that the Motion is GRANTED. Landlord’s deadline for filing a

   response brief is extended to March 31, 2019.


          DONE AND ORDERED in Miami, Florida this _____ date of February 2019.



                                                       ____________________________________
                                                       HON., FEDERICO A. MORENO
                                                       U.S. DISTRICT COURT JUDGE


   Copies to:     Counsel of Record




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                                                                                      Exhibit B
